                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )
                                                      )       No. 3:08-MJ-2096
V.                                                    )       (GUYTON)
                                                      )
CYRIL TRAVIS BISHOP,                                  )
                                                      )
                       Defendant.                     )


                                            ORDER
       This matter came before the undersigned for a preliminary hearing pursuant to Fed. R. Cr.

P. 5.1 on December 22, 2008. Cynthia Davidson, Assistant United States Attorney, was present

representing the government and Les Jeffress was present representing the defendant, Bishop. The

defendant also was present. At the hearing, FBI Special Agent Andy Chapman testified as to the

stop and search of a vehicle which yielded a firearm and ammunition. Special Agent Chapman

testified that the defendant Bishop admitted to possession of the firearm and ammunition. Special

Agent Chapman also testified that the defendant Bishop is a convicted felon.

       Based on the testimony and evidence presented at the hearing, the Court finds there is

probable cause to believe the charged offense was committed and that it was committed by

defendant Bishop. In particular, the Court finds there is probable cause to believe defendant Bishop,

a convicted felon, did possess a firearm and ammunition, as alleged in the Criminal Complaint in

this matter.




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       Accordingly, it is ORDERED that the defendant Bishop is therefore held to answer in the

District Court.

       IT IS SO ORDERED:
                                                   ENTER:


                                                        s/ H. Bruce Guyton
                                                   United States Magistrate Judge




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